Case 1:16-cv-00887-RGA Document 142 Filed 03/05/19 Page 1 of 3 PageID #: 2977



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

ARENA PHARMACEUTICALS, INC.,                      )
API DEVELOPMENT LTD,                              )
ARENA PHARMACEUTICALS GMBH and                    )
EISAI INC.                                        )
                                                  )
                       Plaintiffs,                )
                                                  )
         V.                                       )   C.A. No. 16-887 (RGA)
                                                  )   CONSOLIDATED
TEVA PHARMACEUTICALS USA, INC. ,                  )
                                                  )
                       Defendant.                 )


                                     CONSENT JUDGMENT

               WHEREAS, this action for patent infringement has been brought by Plaintiffs

Arena Pharmaceuticals, Inc., API Development LTD, Arena Pharmaceuticals GmbH, and Eisai

Inc. against Teva Pharmaceuticals USA, Inc. ("Teva") for infringement of United States Patent

Nos. 6,953 ,787, 7,514,422, 7,977,329, 8,207,158, 8,273 ,734, and 9,770,455 (the "Patents" and

such action, the "Litigation," and the Plaintiffs and Teva, collectively the "Parties"); and

               WHEREAS, Eisai Inc. and Teva have entered into a good faith final settlement

agreement (the " Settlement Agreement") and Arena has entered a covenant dated on or about

March 1, 2019 to fully settle the Litigation;

               The Court, upon the consent and request of the Parties in the Litigation, hereby

acknowledges the following Consent Judgment and, upon due consideration, issues the follo wing

Order.

               IT IS HEREBY ORDERED, ADJUDGED AND DECREED that:

         1.    Subject matter jurisdiction, personal jurisdiction, and venue are all proper in this

Court.
Case 1:16-cv-00887-RGA Document 142 Filed 03/05/19 Page 2 of 3 PageID #: 2978



       2.      Teva has infringed the Patents pursuant to 35 U.S.C. §271(e)(2) by filing

Abbreviated New Drug Application No. 209918.

       3.      Except as and to the extent permitted by the Settlement Agreement, Teva and its

Affiliates, including any of its successors and assigns, is enjoined from making, having made,

using, selling, offering to sell, importing or distributing any lorcaserin hydrochloride product

pursuant to Abbreviated New Drug Application No. 209918, either directly or indirectly, on its

own part or through any Affiliate, officer, agent, servant, employee or attorney, or through any

person in concert or coordination with Teva or any of its Affiliates, until any grant of license to

the Patents provided in the Settlement Agreement to Teva becomes effective on the terms and as

set forth in the Settlement Agreement.

       4.      In accordance with this Consent Judgment, all claims and counterclaims,

affirmative defenses and demands of the Parties in this action are hereby dismissed without

prejudice and without costs, disbursements or attorneys' fees.

       5.      The Parties each expressly waive any right to appeal or otherwise move for relief

from this Consent Judgment.

       6.      This Court retains jurisdiction over the Parties for purposes of enforcing this

Consent Judgment as well as any dispute regarding the Settlement Agreement.

       7.      The Clerk of the Court is directed to enter this Consent Judgment and an Order

thereon forthwith.




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    Case 1:16-cv-00887-RGA Document 142 Filed 03/05/19 Page 3 of 3 PageID #: 2979



    IT IS SO STIPULATED:

    MORRIS, NICHOLS, ARSHT & TUNNELL LLP              SHA w KELLER LLP

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    March 4, 2019



    SO ORDERED:




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